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 9
10                         UNITED STATES DISTRICT COURT
11                       CENTRAL DISTRICT OF CALIFORNIA
12 Y.Y.G.M. SA d.b.a. BRANDY                     Case No. 2:19-cv-04618-RGK (JPRx)
   MELVILLE, a Swiss corporation,                Hon. R. Gary Klausner
13
                Plaintiff,                       PLAINTIFF’S NOTICE OF
14                                               MOTION AND MOTION FOR
         vs.                                     PERMANENT INJUNCTION,
15                                               ATTORNEY’S FEES, AND PRE-
   REDBUBBLE, INC., a Delaware                   JUDGMENT INTEREST;
16 corporation,                                  MEMORANDUM OF POINTS AND
                                                 AUTHORITIES IN SUPPORT
17               Defendant.                      THEREOF
18                                               Date:           September 7, 2021
                                                 Time:           9:00 a.m.
19                                               Courtroom:      850
20                                               PTSC Date.:     May 24, 2021
                                                 Trial Date:     June 17, 2021
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 1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2         PLEASE TAKE NOTICE that, at 9:00 a.m. on September 7, 2021, or as soon
 3 thereafter as the matter may be heard, in Courtroom 850 of the United States District
 4 Court for the Central District of California, located at 255 East Temple Street, Los
 5 Angeles, California 90012, plaintiff Y.Y.G.M. SA d.b.a. Brandy Melville (“Plaintiff”
 6 or “Brandy Melville”), will and hereby does move this Court for a permanent
 7 injunction, as well as an award of attorney’s fees and pre-judgment interest against
 8 Defendant Redbubble, Inc. (“Defendant” or “Redbubble”).
 9         This Motion is brought pursuant to 15 U.S.C. section 1116(a), which authorizes
10 injunctions, as well as 15 U.S.C. section 1117(a), which authorizes an award of
11 attorney’s fees and case law that authorizes pre-judgment interest. The Motion is
12 based upon this Notice of Motion, the attached Memorandum of Points and
13 Authorities, the Declaration of Keith J. Wesley and the exhibits attached thereto, the
14 proposed order, the files in this action, any oral argument, and all other matters
15 properly presented to the Court prior to its ruling.
16         This motion is made following the conference of counsel pursuant to L.R. 7-3,
17 which took place on August 3, 2021.
18
19 Dated: August 10, 2021                BROWNE GEORGE ROSS
                                         O’BRIEN ANNAGUEY & ELLIS LLP
20
                                            Keith J. Wesley
21                                          Ryan Q. Keech
22                                          Jason Y. Kelly
23                                       By          /s/ Keith J. Wesley
24                                                   Keith J. Wesley
25
                                         Attorneys for Plaintiff
26                                       Y.Y.G.M. SA d.b.a. Brandy Melville
27
28
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  1                 MEMORANDUM OF POINTS AND AUTHORITIES
  2 I.      INTRODUCTION
  3         The jury found, and this Court upheld the finding, that defendant Redbubble is
  4 liable for willfully contributing to the counterfeiting of plaintiff Brandy Melville’s
  5 registered LA Lightning trademark. The jury also found, and this Court upheld the
  6 finding, that Redbubble is liable for willfully contributing to the infringement of the
  7 LA Lightning and Brandy Melville Heart marks and contributing to the infringement
  8 of a host of Brandy Melville’s unregistered trademarks. Accordingly, the jury
  9 awarded, and this Court upheld the award of, statutory damages equal to ten times
 10 actual damages (profits), as well as disgorgement of those profits.
 11         Yet to this day – August 10, 2021 – despite a cease-and-desist letter, this
 12 lawsuit, a clear and unequivocal finding of liability (and willful conduct) by the jury,
 13 and this Court’s JMOL order, Redbubble’s website continues to contribute to the
 14 counterfeiting and infringement of Brandy Melville’s trademarks unabatedly. More
 15 specifically,    a    search     of    “Brandy     Melville”     on    Redbubble – see
 16 www.redbubble.com/shop/?query=brandy%20melville&ref=search_box – leads                 to
 17 no less than 9,000 results, many of which are authentic Brandy Melville designs, and
 18 some of which were highlighted repeatedly at the trial in this case. As just one
 19 example, the first row of the Redbubble.com page entitled “Brandy Melville Gifts &
 20 Merchandise” has the following designs:
 21
 22
 23
 24
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 26
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  1 (Declaration of Keith J. Wesley (“Wesley Dec.”), Exs. 1, 10.)             Here are the
  2 corresponding authentic designs sold by Brandy Melville. The design on the left is
  3 Trial Exhibit 223_0178, and the design on the right is Trial Exhibit 223_0185.
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 11 (Id., Ex. 2; see also D. Roc. 199-3 (Tr. at 266:15-268:12).) These are mere examples;
 12 there are many more. (See Wesley Dec., Exs. 3, 4, 5, 6, 7, 8, 9.)
 13         In other words, even after a jury held that Redbubble is willfully contributing
 14 to the infringement of the “Brandy Melville” trademark, a visitor to Redbubble can
 15 still find Brandy Melville designs by searching for Brandy Melville and being led to
 16 what in essence is an online Brandy Melville store. (The tab for the store even goes
 17 so far as to say “Brandy Melville Gifts & Merchandise.”) (Wesley Dec., Ex. 10.)
 18 Rare is an adjudged infringer so brazen.
 19         Making matters even worse (and in need of a direct and unequivocal response
 20 from the Court), the adjudged infringer here is no fly-by-night operation or “small
 21 fry.” Redbubble is a publicly traded company with hundreds of millions of dollars in
 22 revenue, a significant portion of which comes from intellectual property infringement.
 23 Indeed, the evidence at trial demonstrated that Redbubble’s indifference to
 24 intellectual property rights is hard-wired into its corporate culture: It spent less than
 25 a single percent (0.8% to be precise) of its $300 million in 2019 revenue to keep
 26 infringing designs off its Redbubble.com website. (D. Roc. 199-3 (Tr. at 329:7-90);
 27 D. Roc. 199-4 (Tr. at 462:7-11).) It is unsurprising then that Redbubble’s contribution
 28 to obvious infringement persists to this day. (R. Doc. 199-7; R. Doc. 199-3 (Tr. at
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  1 317:4-318:13); R. Doc. 199-25; R. Doc. 199-26; R. Doc. 199-27; R. Doc. 199-28; R.
  2 Doc. 199-35; R. Doc. 199-36; R. Doc. 199-37; R. Doc. 199-38; R. Doc. 199-39; R.
  3 Doc. 199-40; R. Doc. 199-41; R. Doc. 199-45; R. Doc. 199-46; R. Doc. 199-47.)
  4         Brandy Melville respectfully requests entry of a permanent injunction to
  5 prevent these ongoing harms, which nothing short of the possibility of a contempt
  6 citation will stop. Brandy Melville also respectfully requests an award of attorney’s
  7 fees and pre-judgment interest. Absent these additional forms of monetary relief
  8 necessary to make Brandy Melville whole, infringement is nothing more than a cost
  9 of doing business for even willful infringers, and enforcing intellectual property rights
 10 will be a losing proposition even in a case that is won.
 11 II.     RELEVANT FACTS AND PROCEDURAL HISTORY.
 12         As the JMOL ruling indicates (R. Doc. 204), this Court is well familiar with
 13 the facts and history of this case, which are set forth in its July 10, 2020, order (R.
 14 Doc. 103). This timely motion for a permanent injunction, fees, and pre-judgment
 15 interest follows within 14 days of the Court’s entry of final judgment. (R. Doc. 206;
 16 Fed. R. Civ. P. 54(d)(2)(B)(i).)
 17 III.    ARGUMENT
 18         A.    This Court Should Grant Brandy Melville’s Request for a
 19               Permanent Injunction.
 20         The Lanham Act authorizes this Court to grant injunctions to prevent the
 21 violation of any right of the registrant of a mark registered with the U.S.P.T.O. or to
 22 prevent the infringement of unregistered trademarks under 15 U.S.C. section 1125.
 23 See 15 U.S.C. § 1116(a). Brandy Melville seeks the entry of a permanent injunction
 24 against Redbubble and its officers, agents, servants, employees, attorneys, and all
 25 others who are in active concert or participation with them, from referencing,
 26 mentioning, and/or using in any way, and/or permitting the reference, mention, and/or
 27 use in any way, of BRANDY MELVILLE, Brandy Melville’s registered trademarks
 28 with the U.S.P.T.O. Registration No. 5,748,883, No. 5,373,397, or No. 5,238,856, or
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  1 Brandy Melville’s unregistered variations of the Brandy Melville name, including
  2 “Brandy LA,” “brandymelvilleusa,” and “brandymelvilleusa.com,” (a) on any
  3 products that are the same as or confusingly similar to authentic Brandy Melville
  4 products or designs, or (b) on any product titles, keywords, or “tags,” on the
  5 Redbubble.com website that are associated with or are used to promote or drive
  6 consumers to products that are the same as or confusingly similar to authentic Brandy
  7 Melville products or designs.
  8            A Court may grant a permanent injunction if the plaintiff satisfies the four-
  9 factor test of eBay, Inc. v. MercExchange, LLC, by showing: (1) plaintiff has suffered
 10 irreparable injury; (2) there is no adequate remedy at law; (3) “considering the balance
 11 of hardships between the plaintiff and defendant, a remedy in equity is warranted”;
 12 and (4) it is in the public’s interest to issue the injunction. 547 U.S. 388, 391 (2006).
 13                  1.     Irreparable harm
 14            After enactment of the Consolidated Appropriations Act of 2021, Pub.L. 116-
 15 260, Div. Q, Title II, § 226(a), Dec. 27, 2020, 134 Stat. 2208, Brandy Melville is
 16 “entitled to a rebuttable presumption of irreparable harm” because there has already
 17 been “a finding of a violation.” 15 U.S.C. § 1116(a). Moreover, evidence at trial
 18 demonstrated that, even after Brandy Melville gave Redbubble notice of the
 19 infringement and after Brandy Melville filed this action, Redbubble’s infringement
 20 and counterfeiting persisted.1 Indeed, Redbubble did not even begin to attempt any
 21 proactive policing until a year after the notice and only after being sued. (R. Doc. 199-
 22 12; R. Doc. 199-3 (Tr. at 315:1-316:7).) And, as explained above and in the
 23 accompanying evidence, Redbubble’s infringement persists even after a finding of
 24 willful contributory infringement!
 25
 26   1
      (R. Doc. 199-7; R. Doc. 199-3 (Tr. at 317:4-318:13); R. Doc. 199-25; R. Doc. 199-
 27 26; R. Doc. 199-27; R. Doc. 199-28; R. Doc. 199-35; R. Doc. 199-36; R. Doc. 199-
    37; R. Doc. 199-38; R. Doc. 199-39; R. Doc. 199-40; R. Doc. 199-41; R. Doc. 199-
 28 45; R. Doc. 199-46; R. Doc. 199-47.)
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  1                2.      No adequate remedy at law
  2         Brandy Melville has no adequate remedy at law. Car-Freshner Corp. v. Valio,
  3 LLC, No. 14-cv-1471, 2016 WL 7246073, at *8 (D. Nev. Dec. 15, 2016) (“Damage
  4 to reputation and loss of customers are intangible harms not adequately compensable
  5 through monetary damages.”). Brandy Melville’s Ms. Elkins testified at trial, for
  6 example, that based on her experience working at Brandy Melville, Redbubble’s sale
  7 of infringing and counterfeit designs and products was harmful to the Brandy Melville
  8 brand, is unfair to Brandy Melville’s customers, and negatively impacts Brandy
  9 Melville’s marketing and sales strategies. (R. Doc. 199-3 (Tr. at 268:13-269:3).)
 10 Moreover, an award of damages relates solely to past infringement; future
 11 infringement has not been remedied.
 12                3.      Balance of hardships
 13         The balance of hardships favors Brandy Melville because it is suffering
 14 irreparable injury from the ongoing infringement, for which it has no adequate remedy
 15 at law, while “[t]here is no hardship to a defendant when a permanent injunction
 16 would merely require the defendant to comply with law.” BMW of N. Am., LLC v.
 17 Rocco, No. 19-cv-9285, 2020 WL 7047318, at *12 (C.D. Cal. Nov. 18, 2020) (internal
 18 quotation marks omitted).
 19                4.      Public interest
 20         Finally, “[a]n injunction is in the interest of the public because where
 21 defendant’s concurrent use of plaintiff’s trademark without authorization is likely to
 22 cause confusion, the public interest is damaged by the defendant’s use.” Id.
 23         B.     This Court Should Grant Brandy Melville’s Request for Attorney’s
 24                Fees.
 25                1.      The Lanham Act authorizes a fee award in “exceptional cases”
 26         A party, such as Brandy Melville here, that prevails on a claim for a violation
 27 of the rights in sections 1114 and 1125 of the Lanham Act may be awarded
 28 “reasonable attorney fees” if the case is “exceptional.” 15 U.S.C. § 1117(a). This is
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  1 such a case.
  2                2.    Brandy Melville would have been entitled to a fee award
  3                      under the prior more stringent “exceptional” standard
  4         For many years, the standard for awarding fees under the Lanham Act was
  5 stringent. The Ninth Circuit “required that a plaintiff show that a defendant engaged
  6 in ‘malicious, fraudulent, deliberate or willful’ infringement.” SunEarth, Inc. v. Sun
  7 Earth Solar Power Co., Ltd., 839 F.3d 1179, 1180 (9th Cir. 2016) (en banc) (quoting
  8 Lindy Pen Co. v. Bic Pen Corp., 982 F.2d 1400, 1409 (9th Cir. 1993)). Even under
  9 the prior legal standard, the jury’s finding of willful infringement of multiple
 10 trademarks would have rendered this case “exceptional.”
 11                3.    Brandy Melville should be awarded fees under the less
 12                      stringent “exceptional” standard now in force
 13         Five years ago, the Ninth Circuit joined the Third, Fourth, Fifth, and Sixth
 14 Circuits in lowering and loosening the standards for fee awards under the Lanham
 15 Act. Id. at 1181. Relying on a U.S. Supreme Court decision (Octane Fitness, LLC v.
 16 ICON Health & Fitness, Inc., 572 U.S. 545 (2014)), that interpreted an identical fee-
 17 shifting provision in the Patent Act, the Ninth Circuit held that district courts no longer
 18 are limited to awarding fees in cases of “malicious, fraudulent, deliberate or willful’
 19 infringement,” but instead should examine “the ‘totality of the circumstances,’”
 20 SunEarth, 839 F.3d at 1181, with the ultimate question being whether the “case is
 21 simply one that stands out from others with respect to the substantive strength of a
 22 party’s litigating position (considering both the governing law and the facts of the
 23 case) or the unreasonable manner in which the case was litigated,” id. at 1180.
 24                4.    A finding of a willful violation creates at the least strong
 25                      grounds in favor of a fee award
 26         While a showing of willfulness is no longer required to justify a fee award after
 27 SunEarth, “the Ninth Circuit has repeatedly noted that a case is properly treated as
 28 ‘exceptional’ for purposes of § 1117(a) where, as here, the defendant’s infringement
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  1 was ‘deliberate or willful.’” SAS v. Sawabeh Info. Servs. Co., No. 11-cv-4147, 2015
  2 WL 12763541, at *10 (C.D. Cal. June 22, 2015). Indeed, “[u]pon a finding of willful
  3 infringement, a trial court should provide reasons for not increasing a damages award
  4 or for not finding a case exceptional for the purpose of awarding attorneys fees.” Lee
  5 v. Mike’s Novelties, Inc., No. 10-cv-2225, 2014 WL 12696891, at *2 (C.D. Cal.
  6 Mar. 26, 2014) (quoting Jurgens v. CBK, Ltd., 80 F.3d 1566, 1572 (Fed. Cir. 1996)).
  7 Even before a liberalization of the standard in SunEarth, a Ninth Circuit district court
  8 could thus write: “The parties have cited, and I have found, no reported decisions in
  9 which a plaintiff that established willful infringement was not awarded attorney fees.”
 10 Dunn & Fenley, LLC v. Allen, No. 02-cv-1750, 2007 WL 2973549, at *3 n.1 (D. Or.
 11 Oct. 9, 2007).
 12         All across the law – not just in the narrow confines of intellectual property cited
 13 above – willful violations entitle a party to attorneys’ fees. E.g., In re Schwartz-
 14 Tallard, 803 F.3d 1095, 1098 (9th Cir. 2015) (“[A]n individual injured by any willful
 15 violation of a [bankruptcy] stay . . . shall recover actual damages, including costs and
 16 attorneys’ fees . . . .”); Zaby v. Perfection Collection, LLC, No. 19-cv-539, 2019 WL
 17 5067184, at *2 (D. Nev. Oct. 9, 2019) (“Both the FCRA and the FDCPA allow for
 18 damages and attorneys’ fees for statutory violations,” with “statutory damages of
 19 $1000 and attorneys’ fees for willful noncompliance”); Barnes v. Sea Hawaii Rafting,
 20 LLC, No. 13-cv-2, 2018 WL 4854662, at *12 (D. Haw. Oct. 5, 2018) (“Attorneys’
 21 fees and punitive damages are available under general maritime law for the willful
 22 and wanton disregard of the maintenance and cure obligation.”). Willfulness is also
 23 often the only extra requirement necessary to recover punitive damages, e.g., Kolstad
 24 v. Am. Dental Ass’n, 527 U.S. 526, 550-51 (1999) (Title VII claims); Barnes, 2018
 25 WL 4854662, at *12, even though punitive damages are “described as quasi-
 26 criminal,” Pac. Mut. Life Ins. Co. v. Haslip, 499 U.S. 1, 19 (1991).
 27         The fact that the conduct here found to be willful was counterfeiting, which is
 28 “the ‘hard core’ or first degree’ of trademark infringement,” makes a presumption of
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  1 fees only all the more necessary, Arcona, Inc. v. Farmacy Beauty, LLC, 976 F.3d
  2 1074, 1079 (9th Cir. 2020), and is the reason courts have applied Section 1117(b)’s
  3 presumption of a fee award in counterfeiting cases seeking fees under
  4 Section 1117(a). Great S. Co. v. Irvin, No. 92-cv-5466, 1995 WL 23031, at *4 (N.D.
  5 Ill. Jan. 19, 1995).2 A finding of willfulness in this context is no longer necessary to
  6 support a fee award, but it is a sufficient and a compelling reason to award fees.
  7                  5.     Additional relevant factors support a fee award
  8            The Ninth Circuit has suggested that courts consider the following non-
  9 exclusive factors in evaluating whether a case is “exceptional”: “frivolousness,
 10 motivation, objective unreasonableness (both in the factual and legal components of
 11 the case) and the need in particular circumstances to advance considerations of
 12 compensation and deterrence.” SunEarth, 839 F.3d at 1180. The Ninth Circuit has
 13 added “the degree of success obtained on the claim” to the list. See, e.g., Maljack
 14 Prods., Inc. v. Good Times Home Video Corp., 81 F.3d 881, 889 (9th Cir. 1996). Each
 15 of these factors weighs in favor of a fee award.
 16                         a.    Brandy Melville achieved substantial success
 17            Brandy Melville obtained substantial success. It won essentially all of the
 18 claims submitted to the jury.3         (R. Doc. 193 [Counterfeiting and contributory
 19
      2
       The Court need not decide whether Section 1117(b)’s full strength, all-but-
 20 irrebuttable presumption can be imported into Section 1117(a). The Ninth Circuit
 21 cases employing a simple presumption that a willfulness finding justifies a fee award
    under Section 1117(a) are more than sufficient in this case. But this construction of
 22 Section 1117(a) in counterfeiting cases as congruent with Section 1117(b) also
 23 implicates the rule that a finding of willfulness as to a counterfeiting claim justifies a
    fee award as to all Lanham Act claims in the case, including simple infringement,
 24 without any additional showing. Tiffany & Co. v. Costco Wholesale Corp., No. 13-
 25 cv-1041, 2019 WL 120765, at *8 (S.D.N.Y. Jan. 7, 2019) (“This broad language,
    including the statute’s reference to the general Lanham Act liability provision, clearly
 26 suggests that the Court should award attorneys’ fees incurred in prosecuting the
 27 Lanham Act infringement claim, not just the counterfeiting claim itself.”).
    3
      When submitting the original verdict form, there was a line for infringement of a
 28
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  1 infringement of Heart Mark; same as to LA Lightning Mark; contributory
  2 infringement as to Brandy Melville’s unregistered trademarks].) It also obtained a
  3 finding of willfulness – an exceedingly high standard – on the two registered marks.
  4 (Id. at 2-3.)
  5         The jury awarded 200 times the minimum statutory damages for one
  6 counterfeited mark and 300 times the minimum for the other. (Id.; 15 U.S.C.
  7 § 1117(c)(1).) The jury also awarded full disgorgement of all Redbubble’s profits.
  8 (R. Doc. 193 at 4.)
  9                       b.   Redbubble’s defense was objectively unreasonable
 10                            from a legal perspective
 11         Redbubble took an objectively unreasonable legal stance in contesting liability
 12 on the LA Lightning Mark and the unregistered trademarks. Its argument that the
 13 counterfeiting was permitted as an “aesthetically functional” use both inverted the
 14 burden of proof on this purported defense and was legally indefensible. (R. Doc. 185
 15 at 23; see Au-Tomotive Gold, Inc. v. Volkswagen of America, Inc., 457 F.3d 1062,
 16 1072-74 (9th Cir. 2006) (“The doctrine of aesthetic functionality does not provide a
 17 defense against actions to enforce the trademarks against such poaching.”).)
 18 Redbubble’s fair use argument was frivolous against charges of counterfeiting and
 19 confusion. (R. Doc. 185 at 26; see Smith v. Chanel, Inc., 402 F.2d 562, 564 (9th Cir.
 20 1968) (permitting use only when it is “without deception as to origin”).) Redbubble
 21 attempted to invert the burden of proof on the failure to mitigate damages defense.
 22 (R. Doc. 185 at 29; see Ninth Circuit Model Jury Instruction 5.3.) Its remaining
 23 defenses were factual and are discussed below.
 24         Redbubble’s settlement positions were also objectively unreasonable. Had it
 25 engaged in a reasonable, objective analysis of its exposure in this case, the case would
 26 have settled early on, thus sparing both sides hundreds of thousands of dollars in fees
 27
    third registered trademark, the Brandy Melville Flags mark; however, Brandy
 28 Melville did not pursue that claim at trial.
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  1 and costs (and the Court and jury a four-day trial). Redbubble instead made low-ball
  2 settlement offers that failed even to cover Brandy Melville’s attorney’s fees – to say
  3 nothing of damages, costs, and interest – and that refused to make material changes
  4 to its contributions to the infringement. (Wesley Dec. ¶ 14.)
  5         Even if some of Redbubble’s legal positions could be considered reasonable,
  6 its kitchen-sink approach of also asserting frivolous arguments and contesting the
  7 incontestable significantly increased the cost of litigation for Brandy Melville.
  8 Brandy Melville should not bear the costs that Redbubble could have eliminated had
  9 it taken reasonable positions. Dunn & Fenley, LLC v. Allen, No. 02-cv-1750, 2007
 10 WL 2973549, at *4 (D. Or. Oct. 9, 2007) (awarding fees in part because “defendants’
 11 persistence in arguing that its material did not infringe plaintiff’s copyright,” though
 12 not frivolous, was “not reasonable” in light of “the clear similarity of the works”).
 13                        c.     Redbubble’s defense was objectively unreasonable
 14                               from a factual perspective
 15         The facts underlying Redbubble’s defense show that Redbubble acted
 16 unreasonably in refusing to admit it had counterfeited the registered LA Lightning
 17 Mark and infringed the registered Heart Mark and the unregistered trademarks.
 18         First, as found by the jury, Redbubble willfully violated Brandy Melville’s
 19 rights. Thus every time Redbubble argued Brandy Melville had failed to produce any
 20 evidence of counterfeiting simpliciter, the jury found the evidence so strong as to
 21 show the violations were “undertaken either with knowledge that the conduct
 22 constitutes infringement or with reckless disregard for the copyright or trademark
 23 owner’s rights.” Autodesk, Inc. v. Flores, No. 10-cv-1917, 2011 WL 337836, at *8
 24 (N.D. Cal. Jan. 31, 2011) (citing In re Barboza, 545 F.3d 702, 707-08 (9th Cir. 2008));
 25 see also Unicolors, Inc. v. Urban Outfitters, Inc., 853 F.3d 980, 992 (9th Cir. 2017).
 26 The jury thus did not merely reject Brandy Melville’s factual positions; it rejected
 27 them resoundingly. Redbubble was as willfully blind to its assertion of frivolous
 28 factual denials in this litigation as it was to its contribution to the counterfeiting and
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  1 infringement of Brandy Melville’s trademarks that led to the litigation in the first
  2 place.
  3            Second, Redbubble ignored Brandy Melville’s takedown notice and continued
  4 to violate its rights for months, thus begging for this lawsuit. Indeed, Redbubble’s
  5 infringement and use of Brandy Melville’s designs is ongoing! (Wesley Dec., Exs. 8,
  6 9.)
  7
  8
  9
 10
 11
 12
 13
 14 (See also Wesley Dec., Exs. 1, 2, 3, 4, 5, 6, 7; R. Doc. 199-3 (Tr. at 266:15-267:16)
 15 (identifying other Brandy Melville designs that are available for sale on the
 16 Redbubble website).)
 17            In fact, Redbubble continues to willfully persist in its infringement of numerous
 18 third-parties’ intellectual property rights as well. (Wesley Dec., Ex. 11.)
 19            Courts routinely award fees under the Lanham Act (and the analogous fee-
 20 shifting provision in the Copyright Act) where, like here, the defendant continued to
 21 violate the plaintiff’s rights after receiving a cease-and-desist letter or takedown
 22 notice.4 As Judge Scheindlin of the Southern District of New York observed:
 23
      4
        E.g., Am. Auto. Ass’n, Inc. v. Best Value Inn Oasis of Eden, No. 12-cv-1303, 2012
 24 WL 13012711, at *2 (C.D. Cal. July 10, 2012) (ignoring cease-and-desist letters);
 25 Gucci Am., Inc. v. Guerrero, No. 07-cv-7898, 2008 WL 11336190, at *8 (C.D. Cal.
    Nov. 4, 2008) (same); see also Curves Int’l, Inc. v. Nash, No. 11-cv-425, 2013 WL
 26 3872832, at *4 (N.D.N.Y. July 25, 2013) (“Courts have held that the unauthorized
 27 use of proprietary marks can give risk to an exceptional case in which an award of
    attorneys’ fees and costs is appropriate, especially where defendants have failed to
 28
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  1 “Where, as here, the defendant is warned of its infringing activities and is given ample
  2 opportunity to cease and desist prior to the commencement of the lawsuit, attorneys’
  3 fees are clearly justified.” Kroll-O’Gara Co. v. First Defense Int’l, Inc., No. 99-cv-
  4 4899, 2000 WL 369721, at *1 (S.D.N.Y. Apr. 11, 2000). The policy rationales for
  5 awarding fees in such cases reach their apex when, even after losing at trial, the
  6 counterfeiter and infringer persists in its wrongful conduct – exactly what Redbubble
  7 is doing.
  8         Third, when confronted with its unlawful conduct, Redbubble provided excuse
  9 after excuse after excuse at every phase of the case and at trial. Redbubble never did
 10 the reasonable, honest thing – i.e., candidly admit a mistake and pledge not to make
 11 it again in the future. It did not do so because its business model depends on allowing
 12 and indeed facilitating numerous, flagrant trademark violations. MetroPCS v. Devor,
 13 215 F. Supp. 3d 626, 638 (N.D. Ill. 2016) (awarding fees because “Defendants’ entire
 14 business model is predicated on the unauthorized and willful exploitation of
 15 MetroPCS and its Marks”).
 16         This is not a case of an innocent infringer who acted reasonably when notified
 17 of the infringement or even after being sued. Rather, this is a case of a defendant who
 18
 19
      comply with cease-and-desist letters”) (emphasis added); Choice Hotels Int’l, Inc. v.
 20   Kumar & Birla, LLC, No. 11-cv-5100, 2013 WL 12097438, at *4 (E.D. Wash.
      Jan. 14, 2013) (finding case exceptional and awarding fees under Lanham Act where
 21
      “Defendants certainly knew their acts amounted to infringement and were under
 22   notice through their Franchise Agreement and the cease and desist letters”); Big Bus
      Tours Ltd. v. Half Price Tour Tickets, LLC, No. 12-cv-21579, 2012 WL 13014655,
 23
      at *1 (S.D. Fla. Nov. 26, 2012) (“In the instant case, the undersigned finds that the
 24   Defendants ignored the ‘cease and desist’ letter sent by the Plaintiffs and continued
      their infringing behavior. For this reason, and based on other conduct by the
 25
      Defendants set forth in the Complaint, the undersigned concludes that the Defendants’
 26   actions were willful and an award of attorneys fees under § 1117(a) is warranted.”);
      Arista Records, Inc. v. Beker Enters., Inc., 298 F. Supp. 2d 1310, 1313 (S.D. Fla.
 27
      2003) (awarding fees under Copyright Act where defendants ignored plaintiffs’ cease-
 28   and-desist letters).
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  1 acted in willful disregard of Brandy Melville’s rights and then denied and dissembled
  2 to try to escape liability. A fee award is more than justified.
  3                       d.     A fee award would advance considerations of
  4                              compensation and deterrence
  5         The Ninth Circuit has “expressed concern that a ‘small award for damages,’
  6 without fees, may be ‘insufficient to deter future copyright infringements such as the
  7 one at issue here.’” Glacier Films (USA), Inc. v. Turchin, 896 F.3d 1033, 1039 (9th
  8 Cir. 2018) (quoting Magnuson v. Video Yesteryear, 85 F.3d 1424, 1432 (9th Cir.
  9 1996)). This is such a case. If fees are not awarded, then Brandy Melville will have
 10 lost over a million dollars simply to protect its intellectual property. That is the wrong
 11 message to send to Brandy Melville, and it is the wrong message to send to other
 12 intellectual property owners. An intellectual property owner whose rights have been
 13 infringed – particularly as recklessly and egregiously as herein – should not suffer a
 14 substantial loss for protecting its rights. Rather, Brandy Melville should be made
 15 whole by ordering Redbubble to pay its attorney’s fees.
 16         A fee award is also necessary to deter Redbubble and others who may consider
 17 following in Redbubble’s footsteps. Disgorgement of profits alone is not an adequate
 18 deterrent. Many infringers – especially infringers who have shown a willingness to
 19 willfully disregard the rights of an intellectual property owner and engage in “hard
 20 core” or “first degree” violations – are willing to risk a disgorgement of profit alone.
 21 After all, some infringement will go unnoticed or will not be remedied. Therefore,
 22 the infringer in the long run will profit even if it must disgorge its profit in a particular
 23 instance.     If, however, an infringer must not just disgorge its profits but also
 24 compensate the plaintiff for the costs of enforcement, the infringer will think long and
 25 hard before assuming the risk of infringement again. The deterrence rationales
 26 undergirding Section 1117(b)’s presumption in favor of fees in cases of willful
 27 counterfeiting apply with equal force to Section 1117(a). Great S. Co. v. Irvin,
 28 No. 92-cv-5466, 1995 WL 23031, at *4 (N.D. Ill. Jan. 19, 1995).
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  1               6.     The amount of Brandy Melville’s requested fees is reasonable
  2         “To determine what fee should be awarded, the court must first determine the

  3 ‘lodestar,’ which is the number of hours reasonably expended on the litigation
  4 multiplied by a reasonable hourly rate.” United Steelworkers of Am. v. Phelps Dodge
  5 Corp., 896 F.2d 403, 406 (9th Cir. 1990); see also Hensley v. Eckerhart, 461 U.S.
  6 424, 433 (1983) (“The most useful starting point for determining the amount of a
  7 reasonable fee is the number of hours reasonably expended on the litigation multiplied
  8 by a reasonable hourly rate”). Important to keep in mind is that Redbubble’s
  9 persistent (and willful) infringement, up to the current moment, has been a significant
 10 driver of costs.
 11                      a.     Brandy Melville’s counsel billed reasonable hours
 12         In determining reasonable hours, the party requesting fees generally submits its
 13 time records justifying the hours claimed to have been expended. See Chalmers v.
 14 City of Los Angeles, 796 F.2d 1205, 1210 (9th Cir. 1986); cf. Fischer v. SJB-P.D. Inc.,
 15 214 F.3d 1115, 1121 (9th Cir. 2000) (party requesting fees meets burden “by simply
 16 listing his hours and identifying the general subject matter of his time expenditures”).
 17         Brandy Melville’s has presented detailed tables summarizing the monthly
 18 billing statements from its counsel.      (Wesley Dec., Ex. 12.)      Those tables and
 19 summaries reveal the date, amount, and nature of the work performed by Brandy
 20 Melville’s attorneys. (Id.) They establish that Brandy Melville’s counsel billed
 21 approximately 1,871 attorney hours and 482 paralegal hours between May 22, 2019,
 22 and the present on this case. (Id.)
 23         The hours billed on this complex matter were reasonable in that they span
 24 nearly three years of litigation, including a jury trial. As the Court may recall, Brandy
 25 Melville’s counsel presented the case leanly, trying it in just four court days, which
 26 included jury selection, the presentation of all evidence, and the closing arguments of
 27 counsel. (E.g., R. Docs. 184, 186, 187, 188.) Moreover, as explained above, the hours
 28 expended reflect in part the unreasonable nature of Redbubble’s defense. In light of
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  1 these circumstances, the hours spent by Brandy Melville’s counsel in litigating this
  2 case were eminently reasonable.
  3                         b.    Brandy Melville’s counsel’s hourly rates are reasonable,
  4                               as other judges, including in this district, have found
  5            “A party seeking an award of attorney’s fees bears the burden of submitting
  6 evidence of the hours worked and the rate paid, as well as evidence that the rate
  7 charged is in line with the prevailing market rate in the relevant community.”
  8 Hawkins-Dean v. Metro. Life Ins. Co, No. 03-cv-1115, 2007 WL 2735684, at *1 (C.D.
  9 Cal. Sep. 18, 2007). “The prevailing market rate is indicative of a reasonable hourly
 10 rate.” Jordan v. Multnomah Cty., 815 F.2d 1258, 1262 (9th Cir. 1987). “[R]ate
 11 determinations in other cases . . . are satisfactory evidence of the prevailing market
 12 rate.” United Steelworkers, 896 F.2d at 407.
 13            Brandy Melville’s attorneys billed at rates between $400 per hour and $850 per
 14 hour, for an overall blended rate of $532 per hour. (Wesley Dec. ¶¶ 15, 16, Ex. 12.)
 15 Judges in this district – and other California districts – have concluded that rates in
 16 the same range as those charged by Brandy Melville’s lawyers were reasonable for
 17 experienced counsel handling complex litigation.5
 18
 19
 20
 21   5
          See Strategic Partners, Inc. v. Vestagen Protective Techs., Inc., No. 16-cv-5900,
 22   2018 WL 6038275 (C.D. Cal. Jan. 17, 2018) (Klausner, J.) (approving blended rate
      of $520 in a Lanham Act case); Perfect 10, Inc. v. Giganews, Inc., No. 11-cv-7098,
 23
      2015 WL 1746484 (C.D. Cal. Mar. 24, 2015) (approving fee award with hourly rates
 24   for partners between $705 and $930, hourly rates for associates between $360 and
      $690, and hourly rates for paralegal and support staff between $245 and $345 in
 25
      Lanham Act dispute); Amusement Art, LLC v. Life is Beautiful, LLC, No. 14-cv-8290,
 26   2017 WL 2259672 (C.D. Cal. May 23, 2017), aff’d in part, vacated in part, remanded,
      768 F. App’x 683 (9th Cir. 2019) (approving fee award in Lanham Act dispute with
 27
      attorney hourly billing rates between $450 and $865, and paralegals and support staff
 28   charging hourly rates between $215 and $380).
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  1                     c.     Conclusion: Brandy Melville’s Total Requested Fees
  2                            Are Reasonable
  3        The total lodestar of $1,251,062.50 (total of 2,352.25 hours at blended rate of
  4 $532 per hour) is supported by the appended declaration and exhibits. (Wesley Dec.,
  5 ¶¶ 13-23, Exs. 12-16.) It is well within the range normally required to take an
  6 intellectual property case through discovery, a jury trial, and post-trial motions.
  7 Indeed, it is on the low end of that spectrum. See, e.g., Eldorado Stone LLC v.
  8 Renaissance Stone, No. 04-cv-2562, 2007 WL 3308099, at *2 (S.D. Cal. Oct. 24,
  9 2007) (nearly fifteen years ago, awarding fees totaling $1,925,230 (or $2,522,775 in
 10 2021 dollars) following jury verdict finding defendant infringed plaintiff’s trademark
 11 and copyright, and misappropriated plaintiff’s trade secret); Brighton Collectibles,
 12 Inc. v. Coldwater Creek Inc., No. 06-cv-01848, 2009 WL 160235, at *5 (S.D. Cal.
 13 Jan. 20, 2009) (awarding $1,235,404 (or $1,564,552 in 2021 dollars) in fees incurred
 14 in copyright and trade dress case). Therefore – subject to updates prior to the hearing
 15 on the motion – the total requested amount should be found to be reasonable.
 16        C.     This Court Should Award Pre-Judgment Interest at the Rate Set
 17               Forth in 26 U.S.C. § 6621(a)(2), Compounded From the First Date
 18               of Infringement
 19        “Money today is not a full substitute for the same sum that should have been
 20 paid years ago. Prejudgment interest therefore is an ordinary part of any award under
 21 federal law.” In re Oil Spill by the Amoco Cadiz Off the Coast of France on March
 22 16, 1978, 954 F.2d 1279, 1331-32 (7th Cir. 1992); accord Ford v. Alfaro, 785 F.2d
 23 835, 842 (9th Cir. 1986).       The Ninth Circuit, in a copyright case, held that
 24 prejudgment interest is available on a monetary award based on a disgorgement of the
 25 defendant’s wrongful gain. Frank Music Corp. v. Metro-Goldwyn-Mayer Inc., 886
 26 F.2d 1545, 1552 (9th Cir. 1989).
 27        Although the Ninth Circuit has not yet addressed the issue, other circuits that
 28 have considered it have held that prejudgment interest is available under Section
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  1 1117(a) of the Lanham Act. See Utd. Phosporus, Ltd. v. Midland Fumigant, Inc., 205
  2 F.3d 1219, 1236-37 (10th Cir. 2000) (trademark law) (“In the federal context, this
  3 Court has adopted a preference, if not a presumption, for prejudgment interest.”); Am.
  4 Honda Motor Co., Inc. v. Two Wheel Corp., 918 F.2d 1060, 1064 (2d Cir. 1990)
  5 (“Although Section 1117(a) [of the Lanham Act] does not provide for prejudgment
  6 interest, such an award is within the discretion of the trial court[.]”); Gorenstein
  7 Enters., Inc. v. Quality Care-USA, Inc., 874 F.2d 431, 436-37 (7th Cir. 1989) (Posner,
  8 J.) (“While [the Lanham Act] makes no reference to prejudgment interest, . . . [t]he
  9 time has come, we think, . . . to announce a rule that prejudgment interest should be
 10 presumptively available to victims of federal law violations.”).
 11         That is the approach taken by courts within this district as well. Anhing Corp.
 12 v. Thuan Phong Co. Ltd., No. 13-cv-5167, 2016 WL 6661178, at *5 (C.D. Cal. Jan.
 13 25, 2016) (“Although 15 U.S.C. § 1117(a) does not provide for prejudgment interest,
 14 ‘[a]n award of pre-judgment interest in a case under federal law is left to the sound
 15 discretion of the trial court.’ Here, the Court finds that an award of prejudgment
 16 interest is warranted to avoid incomplete compensation to Plaintiff.” (internal
 17 citations omitted)).
 18         District courts in the Ninth Circuit often enlist the post-judgment interest rate
 19 in 28 U.S.C. § 1961 – the interest rate on a one-year Treasury bill – as the rate of
 20 prejudgment interest. E.g., Nelson v. EG&G Energy Measurements Group, Inc., 37
 21 F.3d 1384, 1391 (9th Cir. 1994). The rate in § 1961, however, has been criticized as
 22 systemically low. Gorenstein Enters., Inc. v. Quality Care-USA, Inc., 874 F.2d 431,
 23 437 (7th Cir. 1989) (“[The Treasury-bill] rate is too low, because there is no default
 24 risk with Treasury bills.”). In view of the fact that “an award of pre-judgment interest
 25 at below market rates does not fully compensate the prevailing party[,]” W. Pac.
 26 Fisheries, Inc. v. SS President Grant, 730 F.2d 1280, 1288 (9th Cir. 1984), the
 27 common use of the Treasury-bill rate is in tension with economic reality.
 28         Therefore, although the rate in § 1961 remains the default in this circuit, this
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  1 Court has unfettered discretion to depart from that rate if it “finds, on substantial
  2 evidence, that the equities . . . require a different rate.” Nelson, 37 F.3d at 1391. For
  3 several years, the Treasury-bill interest rate, low to begin with, has been heavily and
  4 artificially depressed. Because an award of Treasury-bill interest lately approaches
  5 an award of no interest, deviation from the § 1961 standard has become almost
  6 routine. See, e.g., James v. Group Life & Health Benefits Plan, No. 11-cv-51, 2014
  7 WL 4684885, at *3-4 (D. Or. 2014) (collecting authority).
  8         In S.E.C. v. Platforms Wireless International Corp., 617 F.3d 1072 (9th Cir.
  9 2010), the defendants disgorged money wrongfully obtained from investors. The
 10 SEC sought pre-judgment interest on the disgorged money, not at the Treasury-bill
 11 rate set forth in 28 U.S.C. § 1961, but at the higher tax-underpayment rate set forth in
 12 26 U.S.C. § 6621(a)(2). Although it acknowledged the presumption in favor of
 13 § 1961, the Ninth Circuit affirmed the use of § 6621(a)(2). Id. at 1099-1100.
 14         Section 6621(a) has provided a consistently popular alternative to
 15 Section 1961, when, as here, deviation is warranted, see, e.g., S.E.C. v. World Info.
 16 Tech., Inc., 590 F. Supp. 2d 574, 578 (S.D.N.Y. 2008); Armstrong v. Charlotte Cty.
 17 Bd. of Cty. Com’rs, 273 F. Supp. 2d 1312, 1321 (M.D. Fla. 2003); Frazier v. Se. Penn.
 18 Transp. Auth., 814 F. Supp. 11, 12-13 (E.D. Pa. 1993); Assoc. Against Discrimination
 19 in Employ. v. Bridgeport, 572 F. Supp. 494, 495 (D. Conn. 1983), including in
 20 Lanham Act cases, Fendi Adele S.R.L., 689 F. Supp. 2d at 622.
 21         If the prejudgment interest rate is to resemble a market rate – and it should, see
 22 Platforms Wireless, 617 F.3d at 1099; W. Pac. Fisheries, 730 F.2d at 1288 –
 23 compounding is essential. Price v. Stevedoring Servs of Am., Inc., 697 F.3d 820, 842
 24 (9th Cir. 2012) (“Anyone with a savings account, credit card, mortgage, or student
 25 loan knows that the modern financial world employs compound interest as a general
 26 rule.”); see also Termine ex rel. Termine v. William S. Hart Un. High Sch. Dist., 288
 27 F. App’x 360, 363 (9th Cir. 2008) (“compound prejudgment interest” is now “the
 28 norm in federal litigation”); Jerra v. United States, No. 12-cv-1907, 2018 WL
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  1 1605563, at *13 (C.D. Cal. Mar. 29, 2018) (“The norm in federal litigation is to
  2 compound prejudgment interest . . . . ”) (citing United States ex rel. Macias v. Pac.
  3 Health Corp., No. 12-cv-960, 2016 WL 8722639, at *11 (C.D. Cal. Oct. 7, 2016)).
  4        The date from which pre-judgment interest accrues is another factor that resides
  5 within the district court’s discretion. Columbia Brick Works, Inc. v. Royal Ins. Co. of
  6 Am., 768 F.2d 1066, 1068 (9th Cir. 1985). But a natural starting point is available.
  7 Pre-judgment interest compensates the prevailing party for a loss of money “from the
  8 time of the loss until judgment is entered.” Am. Mill Co. v. Brennan Marine, Inc., 623
  9 F.3d 1221, 1226 (8th Cir. 2010) (emphasis added). Pre-judgment interest should
 10 therefore accumulate “from the earliest ascertainable date on which the cause of
 11 action existed.” Briarpatch Ltd., L.P. v. Geisler Roberdeau, Inc., 513 F. Supp. 2d 1,
 12 5 (S.D.N.Y. 2007); Dreiling ex rel. Infospace, Inc. v. Jain, 281 F. Supp. 2d 1234,
 13 1241 (W.D. Wash. 2003) (applying pre-judgment interest “from the date of the sales
 14 which produced the profit that the [defendants] have since held”). That date is at the
 15 latest May 14, 2018, the date of Brandy Melville’s cease-and-desist notice to
 16 Redbubble. (R. Doc. 199-7.)
 17 IV.    CONCLUSION
 18        Brandy Melville respectfully requests an order issuing a permanent injunction
 19 and awarding attorney’s fees and pre-judgment interest.
 20
 21 Dated: August 10, 2021                BROWNE GEORGE ROSS
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 28
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